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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,                         )
                                                             )
                                                             )
                   Plaintiff,                                )
                                                             )
 v.                                                          )   Case No. 4:17-cv-00454-GKF-JFJ
                                                             )
 1) CASTLE HILL STUDIOS LLC                                  )
    (d/b/a CASTLE HILL GAMING);                              )
 2) CASTLE HILL HOLDING LLC                                  )
    (d/b/a CASTLE HILL GAMING); and                          )
 3) IRONWORKS DEVELOPMENT, LLC                               )
    (d/b/a CASTLE HILL GAMING)                               )
                                                             )
                   Defendants.                               )


             DECLARATION OF GARY M. RUBMAN IN SUPPORT OF PLAINTIFF’S
            OPPOSITION TO DEFENDANTS’ MOTION CHALLENGING PLAINTIFF’S
                    DESIGNATIONS UNDER THE PROTECTIVE ORDER

                     1.         I am an attorney with the law firm of Covington & Burling LLP, counsel

      for Plaintiff Video Gaming Technologies, Inc. (“VGT”). I was admitted pro hac vice in this case

      on August 9, 2017.

                     2.         Attached as Exhibit 1 is a true and correct copy of a letter sent from the

      Coalition for Fair Gaming to the National Indian Gaming Commission (“NIGC”), dated

      December 11, 2017. This letter currently is available via the website of the Coalition for Fair

      Gaming at http://www.fairnessfight.com.

                     3.         Attached as Exhibit 2 is a true and correct copy of an email exchange

      between counsel for Castle Hill Gaming (“CHG”) and counsel for VGT that occurred between

      November 9, 2018 and November 20, 2018.
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                  4.      Attached as Exhibit 3 is a true and correct copy of a letter I sent to CHG’s

   counsel, dated November 28, 2018.

                  5.      Attached as Exhibit 4 is a true and correct copy of a letter I sent to CHG’s

   counsel, dated December 12, 2018.

                  6.      Attached as Exhibit 5 is a true and correct copy of a letter sent from the

   Coalition for Fair Gaming to the NIGC, dated November 13, 2017. This letter currently is

   available via the website of the Coalition for Fair Gaming at http://www.fairnessfight.com.

                  7.      Attached as Exhibit 6 is a true and correct copy of an undated draft letter

   sent to the NIGC. This letter currently is available via the website of the Coalition for Fair

   Gaming at http://www.fairnessfight.com/wp-content/uploads/2017/10/NIGC_Letter.pdf.

                  8.      Attached as Exhibit 7 is a true and correct copy of a document that CHG

   produced from its files bearing Bates numbers CHG0092380-84.

                  9.      Attached as Exhibit 8 is a true and correct copy of an excerpt of the

   privilege log CHG produced in this litigation.

                  10.     Attached as Exhibit 9 is a true and correct copy of an email sent from

   counsel for CHG to counsel for VGT, dated January 25, 2019.

                  11.     Attached as Exhibit 10 is a true and correct copy of an email exchange

   between counsel for CHG and counsel for VGT that occurred between November 28, 2018 and

   December 12, 2018.

                  12.     Attached as Exhibit 11 is a true and correct copy of an excerpt of the

   transcript of a hearing before the Court that took place on December 6, 2017.




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                  13.     Attached as Exhibit 12 is a true and correct copy of a document VGT

   produced in this litigation that was used during the deposition of Richard Williamson and

   identified in that deposition as Exhibit 7.

                  14.     Attached as Exhibit 13 is a true and correct copy of a document VGT

   produced in this litigation that was used during the deposition of Richard Williamson and had

   previously been identified as Exhibit 105.

                  15.     I declare under penalty of perjury that the foregoing is true and correct.

   Executed on February 7, 2019 in Washington, D.C.




                                                         ______________________________
                                                                 Gary M. Rubman




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on February 7, 2019, I caused the foregoing to be served via ECF on

   the following counsel for Defendants:

   Robert C. Gill
   Thomas S. Schaufelberger
   Matthew J. Antonelli
   SAUL EWING ARNSTEIN & LEHR, LLP
   1919 Pennsylvania Avenue, NW, Suite 550
   Washington, D.C. 20006
   (202) 295-6605
   (202) 295-6705 (facsimile)
   robert.gill@saul.com
   tschauf@saul.com
   matt.antonelli@saul.com

   Sherry H. Flax
   SAUL EWING ARNSTEIN & LEHR, LLP
   500 E. Pratt Street, Suite 900
   Baltimore, Maryland 21202
   (410) 332-8764
   (410) 332-8785 (facsimile)
   sherry.flax@saul.com

   James C. Hodges, OBA 4254
   JAMES C. HODGES, PC
   2622 East 21st Street, Suite 4
   Tulsa, OK 74114
   Telephone: (918) 779-7078
   JHodges@HodgesLC.Com

   Duane H. Zobrist
   Jonathan S. Jacobs
   ZOBRIST LAW GROUP PLLC
   1900 Arlington Blvd. Suite B
   Charlottesville, VA 22903
   Telephone: (434) 658-6400
   dzobrist@zoblaw.com
   jjacobs@zoblaw.com

   Attorneys for Defendants
                                                                              /s/ Gary M. Rubman




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